                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE
CONFERENCE OF THE NAACP, et
al.,
                     Plaintiffs,
                                             No. 1:18-cv-01034
              v.
ALAN HIRSCH, in his official capacity
as Chair of the North Carolina State
Board of Elections, et al.,

                      Defendants.

                 PLAINTIFFS’ MOTION TO SET A TRIAL DATE

       Plaintiffs, the North Carolina State Conference of the NAACP, et al., by and through

undersigned counsel, respectfully request under Federal Rules of Civil Procedure 16 and

40 and Local Rule 40.1 that the Court set a trial date and other related scheduling dates,

culminating in a trial commencing the week of February 5, 2024.

       Plaintiffs have met and conferred with Defendants regarding this motion. The State

Board Defendants and Legislator Intervenor-Defendants oppose this relief. The State

Board Defendants “believe that any decision on the trial date should be left to the sound

discretion of the Court.” The Legislator Intervenor-Defendants object to setting a trial date

until Plaintiffs’ Objection to the Magistrate’s September 12, 2023 Order (ECF No. 211) is

resolved.

                                     BACKGROUND

       This case involves a challenge to North Carolina’s 2018 Voter ID Law, S.B. 824,

under Section 2 of the Voting Rights Act, 42 U.S.C. § 1983, and the United States

Constitution. Plaintiffs assert that the Voter ID Law was enacted with racially




      Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 1 of 7
discriminatory intent and impermissibly deprives Black and Latino voters their

fundamental right to vote. Although implementation of S.B. 824 was delayed pursuant to

injunctions issued by this Court and the North Carolina state courts, those injunctions have

now been vacated and the law is currently in effect for elections in North Carolina. Setting

a trial date in early 2024 will allow the Court to issue a decision on this matter well before

the 2024 general election, clarifying the requirements for voting sufficiently in advance to

allow for voter education, as well as the preparation of election materials and training of

election workers.

        This matter has been previously set for trial twice before – to commence on January

4, 2021 and for January 24, 2022 – both of which were delayed due to the pendency of

interlocutory appeals. ECF No. 130, 158, 173. For the January 2022 trial date, the parties

were four weeks away from start of trial when, at the Defendants’ request, the Court entered

a stay of all proceedings on December 30, 2021. ECF No. 194. Fact discovery in this case

closed on May 15, 2020, and the deadline to file dispositive motions expired on July 1,

2020.

        Upon vacating of the state court injunctions, Plaintiffs requested this court lift its

stay. ECF No. 202. The stay was formally lifted on July 26, 2023.

        In order to vindicate the important civil rights that are the subject of this lawsuit, as

well as to ensure that the rules are clear heading into the 2024 general election, Plaintiffs

are requesting a trial date at the earliest possible time permitted under Local Rule 40.1(a).

        Accordingly, consistent with Local Rule 40.1 and this Court’s Policies and

Procedures, Plaintiffs propose the following schedule:

                                                2



        Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 2 of 7
                     DATE                                  EVENT/DEADLINE

  December 15, 2023                             Parties to Exchange Rule 26(a)(3)
                                                Disclosures

  December 22, 2023                             Parties to Submit Rule 26(a)(3) Disclosures
                                                and Objections to Court

  January 15, 2024                              In Limine Motions Due

  January 15, 2024                              Trial Briefs Due

  January 22, 2024                              In Limine Responses Due

  Week of January 22, 2024                      Final Pre-Trial Conference

  Week of February 5, 2024                      Trial to Commence

  Two weeks after completion of trial           Proposed Findings of Fact and Conclusions of
                                                Law


       Plaintiffs believe that this schedule, which provides that there will be four months

until trial, will allow the State Board Defendants to complete their agreed supplementation

of discovery, as well as any additional materials required to be produced upon resolution

of the Objection (ECF 211) well in advance of the trial date. Given the parties’ previous

estimates for length of trial, trial will also be complete substantially in advance of the

March 5, 2023 primary election.

                                        CONCLUSION

       For the foregoing reasons, the Court should enter an order setting this matter for

trial and scheduling related deadlines.




                                            3



      Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 3 of 7
Respectfully Submitted this 12th day of October 2023

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                                           4



     Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 4 of 7
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                                5



Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 5 of 7
                             CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing Motion to Set a

Trial Date with the Clerk of Court using the CM/ECF system which will send notification

of such to all counsel of record in this matter.


       This, the 12th day of October 2023.

                                                                 /s/ Jeremy C. Karpatkin
                                                                 Jeremy C. Karpatkin




                                              6



      Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 6 of 7
                        CERTIFICATE OF WORD COUNT

      The undersigned counsel hereby certifies that pursuant to Local Rules 7.3(d) and

72.4, the foregoing has a word count of less than 6,250 words not including the caption,

signature block and certification of word count. This document was prepared in Microsoft

Word, from which the word count is generated.

      Dated this 12th day of October 2023.

                                                            /s/ Jeremy C. Karpatkin
                                                            Jeremy C. Karpatkin




                                             7



     Case 1:18-cv-01034-LCB-LPA Document 215 Filed 10/12/23 Page 7 of 7
